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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

  Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGENER, and
  ASHLEIGH OLDS,

  Defendants.

                             REPORT & RECOMMENDATION
                                        on

        COUNTY DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS
        PURSUANT TO FED.R.CIV.P. 12(c) REGARDING PLAINTIFFS’ OFFICIAL
                             CAPACITY CLAIMS
                               (Docket No. 63)

  MICHAEL J. WATANABE
  United States Magistrate Judge

          Plaintiffs were prosecuted—unjustly, they feel—and acquitted of the charge

  against them. They now sue the sheriff’s office and the veterinarian who brought the

  alleged crime to the sheriff’s attention for malicious prosecution and unlawful seizure

  (among other theories).

          Defendants have moved for judgment on the pleadings as to Plaintiffs’ 42 U.S.C.

  § 1983 claims against Sheriff Fred Wegener in his official capacity, arguing that the

  complaint fails to allege facts showing municipal liability. See Monell v. Dep’t of Soc.

  Servs. of City of New York, 436 U.S. 658 (1978). The Court has reviewed the parties’
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  filings (Docket Nos. 63, 69, 72, & 87), taken notice of the court’s file in this case, and

  considered the applicable Federal Rules of Civil Procedure, statutes, and case law.

  Now being fully informed, the Court makes the following findings of fact, conclusions of

  law, and recommendation that the motion be denied.

                                      Factual Allegations

         The Amended Complaint (Docket No. 22) alleges, generally, that six horses at

  Plaintiffs’ ranch appeared starved and neglected due to toxic weeds that they were

  consuming (id. ¶ 13), and that Defendant Olds took advantage of the situation to

  instigate animal-cruelty proceedings against Plaintiffs (id. ¶¶ 12-26) in retaliation for not

  kicking veterinary business her way (id. ¶ 55). As to Sheriff Wegener specifically, the

  Amended Complaint alleges:

            “[Sheriff Wegener] was at all relevant times the duly elected sheriff of
             Park County, Colorado. . . . He was involved in the investigation and
             decisions to seize Plaintiffs’ property and prosecute them which are the
             subject of this action.” (Id. ¶ 6.)

            “[A public] outcry was directed at Defendants Wegener and Gore, the
             sheriff and undersheriff, who succumbed to the political pressure and
             asked Defendants Priestly and Hardey to arrange for removal of the six
             horses from [Plaintiffs’ ranch].” (Id. ¶ 19.)

            “On February 22, 2012, Defendant Hardey, at the direction of
             Defendants Wegener[,] Gore and Priestley, who again succumbed to
             the political pressure, sought and received a warrant to seize the six
             horses from Plaintiffs. Defendant Hardey’s affidavit in support of the
             request for a warrant was a breach of the protective custody
             agreement and failed to inform the judge who issued the warrant of
             material facts. . . . The judge who presided over the prosecution of the
             Plaintiffs found that the omissions were material, made in bad faith and
             would have led to refusal to issue the warrant if disclosed to the issuing
             judge.” (Id. ¶ 24.)
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            “Defendants Priestly, Gore and Wegener, despite their knowledge that
             seizure of the horses was not permissible under the facts or the law,
             directed Defendant Hardey to obtain a warrant.” (Id. ¶ 25.)

            “Throughout the course of the investigation and prosecution the
             Sheriff’s Office deviated from its usual and customary practice of
             refusing to disclose the fruits of its investigation to anyone other than
             the District Attorney and the defendant. The Sheriff’s Office provided
             documents to [a nonprofit horse sanctuary] for fundraising projects and
             to prepare a documentary film in which Defendant Olds broadcast her
             baseless claims . . . . This was done for the political benefit of Sheriff
             Wegener the District Attorney.” (Id. ¶ 30.)

                                          Discussion

  I.     Rule 12(c)

         A motion for judgment on the pleadings under Rule 12(c) is subject to the same

  standards that apply to motions to dismiss under Rule 12(b)(6). Atlantic Richfield Co. v.

  Farm Credit Bank of Wichita, 226 F.3d 1138, 1160 (10th Cir. 2000). Under those

  standards, the Court must accept the facts alleged in the Amended Complaint as true;

  further, if inferences must be drawn, the Court must draw them in Plaintiffs’ favor. Gee

  v. Pacheco, 627 F.3d 1178, 1183 (10th Cir. 2010). Only factual allegations are to be

  accepted as true; allegations of bare legal conclusions are discarded from the Court’s

  analysis. Kansas Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1214 (10th Cir. 2011).

  Generally speaking, only the Amended Complaint is to be considered; facts and

  documents that the parties have brought forward while briefing the motion to dismiss

  usually have no bearing on the motion. See Archuleta v. Wagner, 523 F.3d 1278, 1281

  (10th Cir. 2008).
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         Once the set of operative facts is established according to the foregoing rules,

  the Court must decide whether those facts adequately state grounds for relief. It is not

  necessary for Plaintiffs to allege a prima facie case including every last element of their

  legal claims—but they must put forward enough facts for the Court to infer that the

  claims are at least plausible. Khalik v. United Air Lines, 761 F.3d 1188, 1191–92 (10th

  Cir. 2012).

         Defendants’ motion concerns only Plaintiffs’ § 1983 claims against Sheriff

  Wegener in his official capacity. “Suing individual defendants in their official capacities

  under § 1983 . . . is essentially another way of pleading an action against the county or

  municipality they represent.” Porro v. Barnes, 624 F.3d 1322, 1328 (10th Cir. 2010)

  (citing Monell, 436 U.S. at 690 n. 55). As a result, the official-capacity claims against

  Sheriff Wegener can proceed only if the Amended Complaint plausibly alleges a basis

  for municipal liability.

  II.    Municipal Liability

         “A municipality or other local government may be liable under [§ 1983] if the

  governmental body itself ‘subjects’ a person to a deprivation of rights or causes a

  person ‘to be subjected’ to such a deprivation.” Connick v. Thompson, ___ U.S. ___,

  131 S.Ct. 1350, 1359 (2011) (quoting Monell, 436 U.S. at 692). “[U]nder § 1983, local

  governments are responsible only for ‘their own illegal acts.’” Id. at 1359 (emphasis in

  original). “They are not vicariously liable under § 1983 for their employees’ actions.” Id.

  Instead, to establish municipal liability, a plaintiff must show: (1) the existence of a

  municipal policy or custom depriving it of a constitutional or statutory right; and (2) a
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  direct causal link between the policy or custom and the injury alleged. See Graves v.

  Thomas, 450 F.3d 1215, 1218 (10th Cir. 2006) (citing City of Canton v. Harris, 489 U.S.

  378, 385 (1989)). The existence of a policy or custom can be established many

  different ways, including demonstrating the existence of:

         (1) [A] formal regulation or policy statement; (2) an informal custom
         amounting to a widespread practice that, although not authorized by
         written law or express municipal policy, is so permanent and well settled
         as to constitute a custom or usage with the force of law; (3) the decisions
         of employees with final policymaking authority; (4) the ratification by
         such final policymakers of the decisions—and the basis for them—of
         subordinates to whom authority was delegated subject to these
         policymakers’ review and approval; or (5) the failure to adequately train or
         supervise employees, so long as that failure results from ‘deliberate
         indifference’ to the injuries that may be caused.

  Bryson v. City of Okla. City, 627 F.3d 784 (10th Cir. 2010) (citation and quotation marks

  omitted; emphasis added).

         Defendants argue that there was no policy, practice, or custom involved here.

  But Defendants’ argument applies the doctrine too narrowly. “[U]nder appropriate

  circumstances, a single decision by policymakers can be sufficient to create liability

  under § 1983.” Brammer–Hoelter v. Twin Peaks Charter Acad., 492 F.3d 1192, 1211

  (10th Cir. 2007); see Pembaur v. City of Cincinnati, 475 U.S. 469 (1986). As the Tenth

  Circuit has explained:

                  While Monell found liability on the basis of an official policy as the
         moving force of the constitutional violation, it fell to the [Supreme] Court in
         Pembaur to establish that actions taken by a municipality’s final
         policymakers also represent acts of official policy giving rise to municipal
         liability . . . . An act by a municipality’s final policymaking authority is no
         less an act of the institution than the act of a subordinate employee
         conforming to a preexisting policy or custom. As the Court in Pembaur
         explained ‘[n]o one has ever doubted, for instance, that a municipality may
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         be liable under [section] 1983 for a single decision by its properly
         constituted legislative body—whether or not that body had taken similar
         action in the past or intended to do so in the future—because even a
         single decision by such a body unquestionably constitutes an act of official
         government policy.’

  Simmons v. Uintah Health Care Special Dist., 506 F.3d 1281, 1285 (10th Cir. 2007)

  (quoting Pembaur, 475 U.S. at, 480) (further internal citations and quotation marks

  omitted). Thus, “when a municipal official who is ‘responsible for establishing final

  policy with respect to the subject matter in question’ makes ‘a deliberate choice to follow

  a course of action . . . from among various alternatives,’ municipal liability will attach to

  that decision.” Thomas v. City of Snyder, Okl., 1996 WL 662453, at *4 (10th Cir. 1996)

  (quoting Pembaur, 475 U.S. at 483–84). “In the case where a plaintiff seeks to impose

  municipal liability on the basis of a single incident, the plaintiff must show the particular

  illegal course of action was taken pursuant to a decision made by a person with

  authority to make policy decisions on behalf of the entity being sued.” Jenkins v. Wood,

  81 F.3d 988, 994 (10th Cir. 1996)

         Defendants filed separate motions for summary judgment on the other claims in

  this lawsuit—but here, as to the official-capacity claims, Defendants instead moved for

  judgment on the pleadings under Rule 12(c). The Court must therefore accept as true

  the facts alleged in the Amended Complaint. The Amended Complaint alleges, several

  times, that Sheriff Wegener knowingly directed or ordered unlawful conduct. It also

  alleges a political motive that, however tenuous, the Court must accept as true.

  Accordingly, so long as Sheriff Wegener is the “final policymaking authority” for

  purposes of Monell, the Complaint states a plausible claim.
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         “[W]hether a particular official has ‘final policymaking authority’ is a question of

  state law.” City of St. Louis v. Praprotnik, 485 U.S. 112, 123 (1988). The Tenth Circuit

  has identified three factors for determining whether someone is a final decision maker:

  “(1) whether the official is meaningfully constrained by policies not of that official’s own

  making; (2) whether the official’s decisions are final—i.e., are they subject to any

  meaningful review; and (3) whether the policy decision purportedly made by the official

  is within the realm of the official’s grant of authority.” Randle v. City of Aurora, 69 F.3d

  441, 448 (10th Cir. 1995) (quotation marks omitted). In Colorado, a sheriff is the final

  policymaker for his department’s law-enforcement activities. See Cortese v. Black, 838

  F. Supp. 485, 496 (D. Colo. 1993) (citing C.R.S. § 30–10–501 et seq.). Thus, for

  purposes of Monell liability, Sheriff Wegener’s alleged decision directing his employees

  to obtain a warrant to seize Plaintiffs’ property and to issue a criminal summons against

  them is the act of the municipality.

                                         Recommendation

         For the foregoing reasons, the undersigned RECOMMENDS that that the County

  Defendants’ Motion for Judgment on the Pleadings Pursuant to Fed.R.Civ.P. 12(c)

  Regarding Plaintiffs’ Official Capacity Claims (Docket No. 63) be DENIED.



         NOTICE: Pursuant to 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b)(2),

  the parties have fourteen (14) days after service of this recommendation to serve

  and file specific written objections to the above recommendation with the District

  Judge assigned to the case. A party may respond to another party’s objections
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  within fourteen (14) days after being served with a copy. The District Judge need

  not consider frivolous, conclusive, or general objections. A party’s failure to file

  and serve such written, specific objections waives de novo review of the

  recommendation by the District Judge, Thomas v. Arn, 474 U.S. 140, 148-53

  (1985), and also waives appellate review of both factual and legal questions,

  Makin v. Colo. Dep’t of Corr., 183 F.3d 1205, 1210 (10th Cir. 1999); Talley v. Hesse,

  91 F.3d 1411, 1412-13 (10th Cir. 1996).




  Dated: January 23, 2015                   /s/ Michael J. Watanabe
         Denver, Colorado                   Michael J. Watanabe
                                            United States Magistrate Judge
